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      Case: 1:19-cv-06230 Document #: 18 Filed: 02/25/20 Page 1 of 21 PageID #:116                                                   9r,t



                              T]NITED STATES DISTRICT COTJRT
                              NoRrrrERN DlsrRrcr oF rLLINors
                                                                                                .rEHSU.tlrErR[YI8U*,
Dqr,,trUq        lenz.aclo-                                )
                 Plaintiff                                               caseNo.:      lq- L3Za
                 v.                                                      Judge: Co le        Fn 4 n


0'    H, rrTo Ntnl                 Scrvt*                                Magistate Judge:
                 Defendant

                                                Plaintif?s Motion

               To,        J          i{aooT{y,.f

         Plaintitr,   I An rcl f , Ie nZt l,*                  .   pro   se,respectfully requests that this Court


onW fua3mcnl*                           hy Cc{o." ir
and   in support thereof, states as follows:

      r. /rry carrn,1rJa,,,* W{,,5 {;itl {n Sryrtt", fitt


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    Case: 1:19-cv-06230 Document #: 18 Filed: 02/25/20 Page 2 of 21 PageID #:117




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   7.




                 WHEREFORE, Plaintiff respectftrlly asks that this Honorable Court GRANT

his/her Motion             Jrrut qr,uen*                                             cl"rr   r,r   lI   aa   ol

  entcr J*^,lqrnrn* ln                             fA
and any and all other relief   it   deems   just and equitable.

                                                                          Respectfu lly submitted,




Address:   Eq\q fu,\il               h d3E


phone:    090-Lttr -b'lb1
Case: 1:19-cv-06230 Document #: 18 Filed: 02/25/20 Page 3 of 21 PageID #:118




               Motion
                         For
               Default
Case: 1:19-cv-06230 Document #: 18 Filed: 02/25/20 Page 4 of 21 PageID #:119




                                         Wage Loss Verification Form
                                         This W ts ta be fified out by ywr emptoyet




 This statement is for the benefit of your employee in connection ri/ith the clalm for damages fesulting
 from time off, which was in !o rrav connected with our client's employ$ent at your company. lt wculd
 be beneficial to our client if this form ls filled out             completely.                                                                   :




  YourPositionlTitle:                        Yn.€.j ,r)  nf -
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   Emolov?e's     Duties:                                                                                   :




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                                          AlExpress Towing & Recovery
                                             20378 Rand Rd, palatine, lL 60074
    Case: 1:19-cv-06230 Document #: 18 Filed: 02/25/20 Page 5 of 21 PageID #:120

                                       SPOT HERO
                                   Porking Fee Reservations




Please find attached of Parking fees attended   to Federal Court.
Parking cost   total   S   ge.zs



   o   October L8,2019
   o   October2L,2OL9
   o   January 22,2020
   o   FebruaryL2,2O2O
   o   February25,2O2O
      Case: 1:19-cv-06230 Document #: 18 Filed: 02/25/20 Page 6 of 21 PageID #:121
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{l       Case: 1:19-cv-06230 Document #: 18 Filed: 02/25/20 Page 9 of 21 PageID #:124

                                Condominium Association
                                        Rent Payment Agreement




     Please see attached Condominium Rent Payment Agreement by Landlord behind payment due.



        o   November L*,20L7                    Balance   ored:   S 1,000.00
        r   December 1*,2017                    Balance owed: S 1,000.00
        .   January 1't,2018                    Balance owed: S 1,000.00
 Case: 1:19-cv-06230 Document #: 18 Filed: 02/25/20 Page 10 of 21 PageID #:125



                                     Ent       Fayment Agreement

Date     \-\b-       ZCt
Tenant name(s)
Address of unit                                                                                       L (oDDD\
                                                                                            T?ffJ')
payment schedule for the tenant to pay in full a delinquent rent balance. The landlord aEees
not to take any eviction action, including the serving of termination notice or filing of evi&ion
action in court, as long as the tenant complies with this payment plan. Failure to make any
payment by any amount is considered a material violation of the rental agreement and failure
to remedy any notice already receited, and is grounds for further action as permitted by law.
Both parties hare a copy of this agreement.
Total amount to be paid:     $ 3, CtU'-Q
This amount includes rent as follows:                  Nr,.l.'*r"-*r    \$ , Z0 \1
                                                       f   ec'.rn'v-'.r   \$ , .0 ta
                                                      iTsnuc'.c\        \8, ?O\t
Clher charges as follows:




Date Dre          New Anount D.re                    To be Applied to            Balance OA€d

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3. f_D-/$             q bo Bs                                                      \ ,0cc"tP
4. JJ
5, JJ

6. JJ

7. JJ-

Tenant Signature(s)                                                       o*"1^i{-mt{
                                                                          Date
                                                                          Date
Landlord Signature                                                        Date   u1512018

 Tenant Fbsoure Gnter, lnc . (608) zST-Wffi/   Fn)   2SS-ruVI (7368)                             9t0s
   Case: 1:19-cv-06230 Document #: 18 Filed: 02/25/20 Page 11 of 21 PageID #:126

                         TELENAV GPS NAVIGATORTM
                                         GOOGLE MAPS




Please   find attached of Google Maps distance round trip per date           Drive 79 miles

IRS Tax Rate: 57.5 cents per   mile                                          $227.12


   a      October 18,2019                79 miles
   a      October 21,,20L9               79 miles
   a     January 22,2O2O                 79 miles
   o     February 12,2O2O                79 miles
   a      February 25,2O2O               79 mlles

                                         395 mlles               AmountTotal $227.12
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                                                                       2414  18 Filed:    02/25/20
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                                                                                                                 Maps



            Go                          gle MEps                                     2414 Randall Ln to 2414 Randall Ln                                                                                                                                                  Drive 78.6 miles,                            t   h 39 min
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         2414 Randall Ln
         Arlington Herghts, lL 60004

        Get on lL-53 S from W Nichols Rd, N Wilke Rd and lL-69
        WW Dundee Rd
                                                                                                                                                                      6 min (2.0 mi)

             t t.                           Head northeast on Randall Ln toward Bonhill Dr
                                                                                                                                                                                     230 fr
            f) 2.                           Turn right onto Bonhill Dr
                                                                                                                                                                                    0.1 mi
            n 3.                            Bonhill Dr turns left and becomes W Nichols Rd
                                                                                                                                                                                    0.1 mi


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                                       #: Randall
                                          18 Filed:    02/25/20
                                                  Lnto2414         Page
                                                           Randall Ln      13Maps
                                                                      - Google of 21 PageID #:128
     f) 4.      Turn right to stay on W Nichols Rd
                                                                      0.4 mi

     f' 5.      Turn right onto N Wilke Rd
                                                                      0.8 mi

     f) 6.      Turn right onto lL-68 W/W Dundee Rd
                                                                      0.3 mi

     f, 7.      Use the right lane to take the lllinois 53 S S ramp
                to W Suburbs
                                                                      0.2mi


   Take l-290 Eto W Congress Pkwy/W lda B. Wells Dr in
   Chicago
                                                            43 min (36.7 mi)

     f    8.    Continue onto lL-53 S
                                                                      6.4 mi

     t 9. Continue onto l-290 E
                                                                      6.0 mi

     {    10.     Keep right at the fork to stay on l-2g} E,follow
                  signs for Chicago
                                                                    24.3mi


   Continue on W Congress Pkwy/W lda B. Wells Dr. Drive to S
   Dearborn St
                                                              3 min (0.5 mi)

    n 1i.         Keep left to continue on W Congress Pkwy/W lda
                  B. Wells Dr

                                                                      0.3 mi

    1 12. Use the left 2 lanes to turn left onto S Dearborn
                 St
          $    Destination willbe on the right
                                                                     0.2 mi



   52 min (39.2 mi)



   Dirksen Federal Bldg
   219 S Dearborn St, Chicago, lL 60604


   Take S Clark St and W Congress Pkwy/W Ida B. Wells              Drto l-
   290 W
                                                              4 min (0.6 mi)

     t tS.        Head north on S Dearborn St toward W Adams St
                                                                      341   ft
    n     14.    Turn left at the 1st cross street onto W Adams St
                                                                      397   tt
    n 15. Turn left before Club Quarters hotel
                                                                     0.3 mi

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                                               2414  18 Filed:     02/25/20
                                                            Ln lo 2414 Randall LnPage    14Maps
                                                                                  - Google   of 21 PageID #:129
         r)    16.     Use the right 2 lanes to turn right onto W
                       Congress Pkwy/W lda B. Wells Dr
                                                                            0.2 mi


     Follow l-290 W and tL-53 N to Lake Cook Rd in palatine
     Township. Take the Lake Cook Rd E exit from tL-53 Spur
                                                                  40 min (37.9 mi)
          t    17.    Continue onto l-290 WW Congress pkwy (signs
                      for l-90)
                                                                            0.4 mi
         \ 18. Use the left 2 lanes to turn slightly left to stay on
                      t-290   w
                                                                          13.6 mi
         t     19.    Keep right at the fork to stay on F290 W, follow
                      signs for l-294 Tollway N/Milwaukee/Rockford

                                                                            9.0 mi
         t    zo. Continue straight to stay on l-290 W
                                                                            6.4 mi
      t       21.     Keep left to stay on l-290 W

                                                                           0.8 mi
         t    zz.     Continue onto lL-53 N


         t    zs. Continue onto tL-53 Spur (signs for Lake Cook
                                                                           6.1 mi



                      Rd)

                                                                           1.Zmi
      7 24. Take the Lake Cook Rd E exit
                                                                           0.3 mi


    Continue on Lake Cook Rd. Take N Btoomington Ave to
    RandallLn
                                                                   3 min (0.9 mi)
      A 25. Merge onto Lake Cook Rd
                                                                           0.3 mi
     f) 26.          Turn right onto N Bloomington Ave
                                                                           0.3 mi
     f| 27. Turn right onto W Nichols Rd
                                                                            69ft
      t       Zg.    Continue straight to stay on W Nichols Rd
                                                                          0..1   mi
     f) 29. W Nichols Rd turns right and becomes Bonhill Dr
                                                                          0.1 mi
     t        30.    Turn left onto Randall Ln
              {$   Destination will be on the right

                                                                           230   ft



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               Case: 1:19-cv-06230 Document2414
                                             #: Randall
                                                18 Filed:     02/25/20 Page 15 of 21 PageID #:130
   47 min (39.4 mi)



   2414 Randall Ln
   Arlington Heights, lL 60004



   These directions are for planning purposes only.
   You may find that construction projects, traffic,
   weather, or other events may cause conditions to
   differ from the map results, and you should plan
   your route accordingly. You must obey all signs or
   notices regarding your route.




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    Case: 1:19-cv-06230 Document #: 18 Filed: 02/25/20 Page 16 of 21 PageID #:131

             lllinois overtime Law F[sA (Fair Labor standards Act of 19381



                                                                                  Case 1:19-cv-06230

                                                                                  February 20,ZOZ0

Your Honor,

I (Daniel Valenzuela)
                    found severaloff Earnings Statement (ADP)showing that O'Hare Towing has been
forcing me (Employee Daniel Valenzuela) worked over more than 100 hours on most of almost whole a
year "time and a half pay'. I would like you to review and make the best decision for back pay
                                                                                               overtime
wages.

Please review 2At7 W-Z Wage and Tax Statement stated January       t,z0l!.l to October   27   , 2At7
My Hourly Rate Stg.oo per hour, normally 80 hours Bi-weekly, around Szs,60o.o0.

I (Daniel Valenzuela) making   too much over 936,000.00+.



O'hare stated that they are not required to pay any overtime after 80 hours per by FMCSA (Federal
Motor Carrier Safety Regulation?).



For your Honorable wish    to review and determinate to be necessary additional of back pay for all unpaid
overtime, this can be called liquidated damages, and is essentially in lieu of interest on the unpaid
wages. I (Daniel) unable to make whole year copy of ADP Earning Statement, due that dhare Towing
has or been blocked me (Daniel) out of ADP Earning Statement to be printing whole of total which is
unavailable, only that I could print few of proof ADP before signed me out of Login of ADp online.




Thank you for your patience and review.




Daniel Valenzuela
                              Case: 1:19-cv-06230 Document #: 18 Filed: 02/25/20 Page 17 of 21 PageID #:132
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